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      EXHIBIT
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                                 WEB FORENSICS
                                  I    N    S    T    A    N     T




                                      Mod. PO 13 A 01 EN vl


                                 Methodological Report
                                 Instant Forensic Acquisition




                                            May 30. 2025




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                                                                                                   Kopjra Sri
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                                                                           1. Assignment

The company Kopjra Sri, with registered office in Via Rizzoli 1/2,40125 Bologna, Italy. VAT number 03904120247 (hereafter referred to as "Kopira"). as per
the session of forensic acquisition run automatically with the aid of the SooS (Software as a Service) Web Forensics Instant, hereby formulates a methodological
report to describe the technical rules, the processes adopted and the results obtained.

This methodological report refers to the activity of forensic acquisition of digital evidence executed on 05/30/2025 at 10:32 AM UTC+0000 and with regard
to the URLs (UniformResourceLocator)listed in the corresponding table in paragraph 4 (Detailed Information Summary on the Forensic Actions Carried Out).

The acquisition was carried out automatically with the aid of SooS developed by Kopjra which allows the acquisition of digital evideiKe, that is to say any
content available on the Internet, through an automatically controlled web browser run in a forensic environment. The evidentiary value is ensured by the
methodology of acquisition, which follows dutifully the international standard on forensic Information Techndogy ISO/IEC 27037:2017 "Guidelines for
identification, collectioa acquisition and preservation of digital evidence".

A summary of the acquisition, which includes, among other information, the SHA-256 fingerprints of all the files generated, is available in paragraph 4




                                                                         2. Methodology

The ISO/IEC 27037:2017 standard defines the guidelines for identification, collectioa acquisition and preservation of digital evidence. This norm details how
to obtain digital elements with evidentiary value, which can be potentially admitted in court, and validates the four fundamental procedures specified above.
The acquisition process described hereunder is compliant to the ISO/IEC 27037:2017 as regards the acquisition and preservation stages.

In addition to ISO/IEC 27037:2017, the following guidelines have been taken into consideration:

   • Computer Security and Incident Handling - NIST (National Institute of Standards and Technology), 2012;
   • Best Practices for Computer Forenacs - SWGDE (Scientific Working Group on Digital Evidence), 2012;
   • Good Practice Guide for Digital Evidence - ACPO (Asscxriation of Chief Police Officers), 2012;
   • Cloud Computing Forensic Science Challenges ■ NIST, 2012.

The ISO/IEC 27037:2017 standard and the above mentioned guidelines represent the so-called "international best practices" wNch constitute the summary
of the methodological and technical rules that must be applied in the forensic practice, and are also quoted by the Italian law which ratifies the Budapest
Conventionon Cybercrime(Law No. 48,18 March2008). by the Italian Code of the Digital Administration (Codice dell'Amministrazione LXsitale) and by the
elDAS (electronic IDentihcation Authentication and Signature) Regulation. It is possible to consider the rules of authenticity and integrity of digital evidence
established by the best practices not as "simple practical instructions which bring no sanction, but as tangible implicit prohibitions guarded by the sanction of
inadmissibility" (Italian Supreme Court of Cassation, Section IV. Judgement No. 40903,28 June 2016).

This methodology involves the acquisition of all the data streams exchanged between the machine that hosts the automatic web browser and the remote
servers, not only as regards the HTTP (Hypertext Transfer Protocol) protocol, but also with regard to the resolution of the domain names following the DNS
(Domain Name System) protocol.

For each relevant file, that is to say the PCAP file that corresponds to the acquired network traffic, the file which contains the SSL/TLS (Secure Sockets
Layer/Transport Layer Security) traffic decryption keys, the MHTML file containing the page source together to all its resources, the WACZ file (Web Archive
Collection Zipped), the viewport screenshot, as well as all the log files generated during the automatic sessioa a SHA-256 fingerprint is generated, and
exported on a corresponding timestamped and digitally signed XML file, making it possible, therefore, to state itKontrovertibly the conclusion of the
acquisition and its subsequent integrity.

The acquisition was carried out on a dedicated Docker container, autonomously managed and run on a managed cluster hosted on the Google Cloud Platform
(GCP) public cloud provider, based in Belgium (UE), connected to the Internet via the provider's proprietary infrastructure.

The Docker container ran the Linux Debian 11 Bullseye Operating System. Into the Docker container image were installed a web browser, the tshark packet
sniffer, node and npm packets. The supplementary Software was installed through the official distribution channels.

The Docker container is connected to the Ethernet network of the Kubernetes Pod, which is connected with a bridge to the public network interface of the node
into the Kubertenes cluster. At this stage, the connection is routed directly on the Internet through the virtual and physical infrastructure of GCP.

The security of the hardware and virtual infrastructure is ensured by the service provider, while the security of the applicationand of the environmentsis
ensured by the adoption of all industrial best practices available.

When starting the session of forensic acquisiticm, the application will run a script to verify the initial status of the environment and generate a log file. Thanks
to this script a set of different information will be retrieved, such as the details of the Docker container, cpu, memory, network, disks, processes e and time
synchronization of the container. At this stage a time reference will also be obtained through the NTP (Network Time Protocol) protocol.

It is evident that through this methodology the authenticity and origin of the contents are secured. Moreover, the extraction of the contents which are the
sutgect of the investigation can be repeated at any time starting from the same network traffic acquired.




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The files that constitute the digital evidence are preserved as objects in a versioning-enabled object store bucket. The final deletion of the object will occur
after 14 days from the appending of the delete mark.




                                                      3. Time Sequence and Description

Below are all the steps performed to construct the digital proof in chronological order, with the date and time (timestamp) of each.

      DATE AND TIME                                                                                              ACTION

05/30/20251032:33^59UTCM)000_ Slartofthepioceedit^
05/30/2025103233.461 UTCMKKK) Starting ^ network traffic acquKition using thetshark packet sniffer
05/30/2025103233.757 UTC+0000       Starting the environment status check scf ^
05/30/2025103233.769 UTC+0000       Starting the web browser automaticaUy and starting the WACZ file recordkig

05/30/2025103235.154 UTC+OOOO
                                   Navigating a web page and coire^onding screenshot generation and MHTML fU.e https://drive,goo^coni/di!ve/folderV17oYpyyU)Tp>dNmnauB08iGUPI
                                   pXdqR
05/30/2025 1032:43.041 UTC+OOOO    Endir^therecordir^ of the WACZ file and dosir^ the web browser
05/30/20251032:43.042 UTC+OOOO     End ing itre ao) utsitio n of the network traffic and finaliz ing the PCAP file [O^tai evidence copy}
05/30/20251032:43319 UTC+OOOO      Generation of the XML file with its itmestamp and d^itat signatime, corRaining the SHA-256 fingerptirtfs of aM the files that were collected and preserved
                                   Conckiwn of proceedings


The tshark pocket snitfer generates in real time a PCAP file containing a raw representation of all inbound and outbound data transmitted in the specific
network interface, starting from level 2 of the ISO/OSI (Open Systems Interconnection) stack, as described in the ISO 7498-2:1989 •Security architecture of
Informatics processif^ systems” standard.




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                   4. Detailed Information Summary on Forensic Activities Performed

                                                  Summary Table of the Session of Forensic Acquisition
                        ID                             SESSIO          NAME                           DATE                        CONTAIN      OS         m      I      OUTBOUND IP
                   ■
                                    ;d9fe        InstantFbrensicsAcqutsition         05/30/2025 10:32 AM UTC-K>000             Unux Debian 118u8s^      34.79.134.108



                                                             Summary table of the Docker container
                                     PROPERTY                                                                                           VAL

 Unique address to the Docher image used to creatBtheenvkonment                               eu.gcijo/k)pjra/wf-<ore:v033)
 SHA-2S6 fingerprint of the Dodcer wnage used to create the en^nment                          a981cbeelae86375846fdef36fb31bble57611cad2f2320e5c6c9c0d8a2ee66



                                                                 Summary Table of the Identified URLs
                                                                 URL                                                                                    TE AND T!

 https:://drive.goo^com/driv^lder^l7oYpyyLDTpviNmfflai       ;
                                                                                                                                      05/30/2025 i0-J2 AM UrC*0000


                                                                 Summary Table of the Generated Files
            FILE NAME                                                            S   A-25      FINGER                                                                    TYPE

 acqutstiofvpcap                                        76aca474elae                  .   .                                                               PCAP

 initialUatnabg                                         020db3cea6fl388203b2b031fb6aff4X6cd674g9947cd5f9bc70943d7c9aeQaf                                 : U>g
 nc^o fi(Tt3ffic.tog                                   d7685Se4136bll2737b2S26al97635f7GGOeb52bed)06a4db01bcc73ab9ab286                                  : Log
 page.mhtmi                                             9aa624e65814fal5f7ft502711ef096f7elbf04d 5^c6109364974c9d 280f930b                               : Source and resourees

 page.wac2 _                                            53fc45c263^d«)D66cdl5264df08e2mabcf920^M^7923«2a3081fca09                                        ; WACZ archive
 screenshoh^ewportlpg                                   7cOe4beb88ae5de79b5b2eQd60110bb4262179d74e4cffdl28c2b523a40e33c6                                 ; Screenshot

 sessionJog                                             22a4b622b3864712€8l€4e5ebfl63a8480a53b23fd60f404066d05aa2619bcdf                                  Log
 ssiheys.keys                                           072c77442351af7be833c7e998e7bl21ed00db5e89ca568cfle07a6sd03e7a95                                  Keys


These fifes are sorted and stored in a ZIP file. The list below provides a shcrt description of each fUe type:


    • PCAP: a PCAP file corre^nding ot the network traffic that was acquired, automatically generated durtr^ the session;
    • Keys: a fUe ccmtaining the decryption keys of the ^L/TLS traffic, automatically generated durir^ ote sexton. This hie is necessary to read the PCAP hie:
    • Saeenshot: JPG fik corresponding ot the viewport sreentoot automatic^iy generated rtoring the sesaon:
    • Log: hg fik automaticdly generated during ote se^on;
    • Source and resources: web       source    in MHTML format writo images, automatically captured during the session;
    •   MACZ Archrve: WAC2 archhre hie (Web Archive CoHectiwi Zipped) contairring all resources irf the loaded web p*^

    • XML: an XML hie containing all the SHA-256 hngerprints of all the previously described hies, automatically generated at the end of the session. This hie bears a
        timestamp and a digital si^iature. consequenUy it         ensure a certified date, the int^ity and itie tamp«^‘proof status of the di^^ evidence




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                               5. Viewport screenshots automatically generated


      Drive                                                                                                                                               <nk>g9en




 Forensic Archive 2025...                                                                                                              Alles downtoaden
                                                                                                                                                          OjD
        Naam                                              Eigenaitf                           Laatstg_^             Bestandsgro                                  :




          f    forensic_Archive_EXHIBIT_AERIAL-O0^ -as.        Figenaar verborgen             10:26                 146 MB



          Q    LA_^CSTATF_ENTiTY_MR>_A«_MEO„ is.          ^ Eigenaar vertxM-ger               K)36                  S4Kfi         4   Oownloadtn


          Q    MC»_EXHIBrr_AS«AL-0003.pdf ^                    I riganaar verborgen           10:26                 32 KB



          Q    REAMC.EXHt^,AERIAL-000a4)df AS.                 Eigwaar vert5orgen             1026                  137 KB



          Q    SHA1_EXHIBtT_AERIAL'00034»df AA            ^ Eigenaar verborgen                10:26                 30 KB



          Q    SHA2S6_EXHteiT_AERtAL-00034>df Ai               Ergenaar verborgen             1026                  30 KB




                                                                           scree ns hot V i ewpor t-i pg




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                            6. Log File of the Forensic Acquisition Process Initialization

The term log Is used to designate the sequential and chrorwlogical registry of the operations that have been executed by a user, an administrator or
automatically, on an application or a system.

The log file, also known as "Event Log", is the document on whichthese operations are saved and. in case it is necessary, accessed at a later time to analyse the
available informationfor the purposes of the verifiabilityof the process.

The log file pertaining to the forensic acquisition process initialization contains a lot of information on the initial status of the envirornnent. such as the image
details of the Docker container, processor, memory, network, disks, processes and time synchronization of the container.

 ttmtttff Starting          Acquisition ifftftff**
 2025-05-30112:32+62; 06
                 DOCKER DETAILS ««»#«»#»«

 DOCIH $ echo ${DOCKERIHAGE_URL)
 eu.gcr. io/kopjra/*if-core:v0.3.0
 DOCHS $ echo ${DOCKERIHAGE_SHA256}
 cl981cbee1ae86375M6fdef36fb31bble57611cad2n320e5c6c9c0d8a2ee66

 iXfftiltfft*    INSTANCE   DETAILS ##########

 IHGID J curl -sS -XGET -H "Hetadata-Flavor: Google" http://169.254.169.254/cofflputeMetadata/vl/instance/image
 projects/gke-node-images/global/iBages/gke-1317-gkel212008-cos-n 7-186I3-164-98-c-cgpvl-pre
 LOCIP S curl -sS -XGET -H "Metadata-Flavor: Google" http://169.254.169.2S4/coiBputeHetadata/vl/instance/network-inte rfaces/0/ip
 172.28.31.192

 PUBIP $ curl -sS -XGET -H "Metadata-Flavor: Google" http://169.254.169.254/coii^teNetadata/v1/instance/network-inter faces/0/access-configs/9/external-ip
 34.79.134.108

 MACAO $ curl -sS -XGET -H "Metadata-Flavor: Google" http://169.254.169.254/coa^uteMetadata/vl/instance/network-inter faces/0/»ac
 42;01:ac;lc:lf:c0

 INSID $ curl -sS -XGET -H "Metadata-Flavor:                Google" http://169.254.169.254/coiiputeMetadata/vl/instance/id
 9133418244871072840

 INSTY $ curl -sS -XGET -H "Metadata-Flavor: Google" http://169.254.169.254/coiiputeMetadata/v1/lnstance/fflachine-ty pe
 projects/258946861480/machineTypes/n2-hlgh«»en-2
 AVAZO $ curl -sS -XGET -H "Metadata-Flavor: Google" http;//169.254.169.254/coiiiputeMetadata/vl/instance/zone
 projects/258946861480/2ones/eorope-westl-c
 XtfXXXXXXt      SYSTEM OVERVIEW

 SYSOV $ sudo Ishw -short
 H/W path          Device   Class            Description


                            system           Computer
 /0                         bus              Motherboard

 /0/0                       memory           16GiB System memory
 /0/1                       processor        Intel(R) Xeon(R) CPU 0 2.80GHz
 /O/100                     bridge           440FX       - 82441FX PMC [Natoma]
 /0/100/1                   bridge           82371AB/EB/MB P1IX4            ISA
 /0/100/1.3                 bridge           82371AB/Ee/«           PIIX4   ACPI
 /0/10e/3                   generic          Virtio       SCSI

 /0/100/3/0                 generic          Virtual       I/O device
 /0/100/4                   network          Virtio       network    device

 /0/108/4/0                 network          Virtual       I/O device
 /0/iee/5                   generic          Virtio RNG

 /0/100/5/0                 generic          Virtual       I/O device

 /0/2                       system           PnP device PNP0bde

 /0/3                       input            PnP device PNP0303

 /0/4                       input            PnP device PNP0fl3

 /0/5                       communication    PnP device PNPe501
 /0/6                       communication    PnP       device PNP0501

 /e/7                       communication    PnP       device PNP0501

 /e/8                       cofonunication   PnP       device PNP0501
 /I                ethe     network          Ethernet       interface
                 RAM DETAILS ######»###

 HEMOR $ sudo Ishw -C memory
      ♦-memory

           description: System memory
           physical id: 0
           size;    16GiB

           rtf«« CPU   DETAILS f###*#####

 CPUOT $ sudo Iscpu
 Architecture:                                     x86_64
 CPU op-modeCs):                                   32-bit, 64-bit
 Byte Order;                                       Little Endian

 Address sizes;                                    46 bits physical, 48 bits virtual
 CPO(s):                                           2

 On-line CPU(s) list:




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Thread(s) per core:                                     2

Core(s) per socket:                                     1

Socket(s):                                              1

KUHA node(s):                                           1

Vendor ID:                                              Genuineintel

CPU family:                                             6

Model;                                                  85

Model name:                                             Intel(R) Xeon(R) CPU @ 2.80GHz
Stepping:                                               7

CPU HHz:                                                2860.190

BogoHIPS;                                               5600.38

Hypervisor vendor:                                      KVM

Virtualization type:                                    full

Lid cache:                                              32    KiB

Lli    cache:                                           32    KiB

L2 cache:                                               1    MiB

L3    cache:                                            33    HiB

NUHA nodeO CPU(s):
Vulnerability Gather data sastpling:                    Not affected

Vulnerability Itlb multihit:                            Not affected

Vulnerability Lltf;                                     Not affected

Vulnerability Mds:                                      Not affected

Vulnerability Meltdown;                                 Not affected

Vulnerability Hmio stale data:                          Vulnerable: Clear CPU buffers attempted, no microcode; SMT Host state unknown
Vulnerability Reg file data sampling: Not affected
Vulnerability Retbleed:                                 Mitigation; Enhanced IBRS
Vulnerability Spec rstack overflow:                     Not affected

Vulnerability Spec store bypass:                        Mitigation; Speculative Store Bypass disabled via prctL
Vulnerability Spectre vl:                               Mitigation; usercopy/swapgs barriers and                 user pointer     sanitization

Vulnerability Spectre v2:                               Mitigation; Enhanced / Automatic IBRS; IBPB conditional; RSB filling; PBRSB-elBRS SW sequence; BHI SW loop,    KVM StV

Vulnerability Srbds:                                    Not affected

Vulnerability Tsx async abort:                          Vulnerable: Clear CPU buffers attempted, no microcode;                   SMT Host state   unknown

Flags:                                                  fpu vaie de pse tsc msr pae mce cx8 apic sep mtrr pge mca cciov pat pse36 clflush iimx fxsr sse sse2 ss ht syscall nx
SSSflSSSSilfl    DISKS    DETAILS SSSSgSSflS#

BLKDT S sudo          Isblk
NAME        MAJ:MIN RM          SIZE   RO TYPE MOUNTPOINT

sda                       0     leOG   0 disk

|-sda1          8:1       0 95.8G      0 part /etc/resolv.conf
i-sda2          8:2       0      16M   0 part
|-sda3          8:3       9       2G   0 part
hsda4           8:4       0      16M   0 part
I-sdaS          8:5       0       2G    0 part
j-sda6          8:6       0     512B   0 part
!-sda7          8:7       6     5126   0 part
[-sda8                    0      16M    0 part
t-sda9          8:9       6     512B   8 part
|-sdal0         8:10      e     512B   0 part
i-sdall         8:11      0       8M   0 part
'-sdal2         8:12      0      32M   0 part
sdb             8:16      0      10G   0 disk

HDDOT $ sudo df

Filesystem              IK-blocks          Used Available Use% Mounted on
overlay                  98831908      19929512      78886012       21% /

trcpfs                         65536             0      65536        0% /dev
trapfs                    8191668                0    8191668       0% /sys/fs/cgroup
/dev/sdal                98831908      19929512      78886012       21% /etc/hosts
shm                            65536                    65536        0%   /dev/shm

tmpfs                     1572864            12       1572852        1% /run/secrets/kubernetes.io/serviceaccount

tmpfs                     8191668                0    8191668       0% /proc/acpi
tmpfs                     8191668                0    8191668       8% /proc/scsi
topfs                     8191668                0    8191668       0% /sys/firraware
                 NETWORK DETAILS

NETl'tO S sudo Ishw -C network
     ^-network

           description: Ethernet controller
           product;      Virtio network device
           vendor:      Red Hat, Inc.
           physical id: 4
           bus info;      pci@0000:00:04.0
           version:      00

           width:      32 bits
           clock:      33MHz

           capabilities: bus.oaster cap_list
           configuration: driver=virtio-pci latency=0
           resources: irq:10 ioport:c000(size=64) memory:c0000000-c000007f
         *-virtio1 UNCLAIMED

                description: Virtual I/O device
                physical id: 0



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             bus     info:    virtiodl

             configuration: driver=virtio_net
  ^-network

          description: Ethernet interface
          physical id:        1
          logical name:           ethO
          serial:    da:89:c3:0S:b3:55

          size;     10Gbit/s

          capabilities: ethernet physical
          configuration; autonegotiation=off broadcast=yes driver=veth driverversion=l.0 duplex=full ip=172.24.3.9 link=yes raulticast=yes port=twisted pair
IFCCN S sudo ifconfig -a
ethD: flags=4163<UP,BROADCAST,RUNNING,HULTICAST>                           mtu   1460

           inet 172.24.3.9               netmask 255.255.255.0        broadcast 172.24.3.255

           ether da:09:c3:08:b3:55                txqueuelen 0       (Ethernet)
           RX packets 1266496               bytes 878267130 (837.5 HiB)
           RX errors 0            dropped 0      overruns 0       frame 0
           TX packets 1307344               bytes 769347364 (733.7 HiB)
           TX errors 0            dropped 0 overruns 0         carrier 0         collisions 0
lo:    flags=73<UP,LOOPBACK,RUNNING>                  otu 65536
           inet     127.0.0.1        netmask 255.0.0.0

           loop      txqueuelen          1000   (Local Loopback)
           RX packets 112971              bytes 841170744 (802.2 HiB)
           RX errors 0            dropped 0      overruns 0       frame 0
           TX packets 112971               bytes 841170744 (802.2 HiB)
           TX errors 0            dropped 0 overruns 0         carrier 0         collisions       0

NETST S sudo netstat -r

Kernel IP routing table
Destination            Gateway                   Genmask              Flags         HSS Window            irtt   Iface

default                172.24.3.1                0.0.0.0              UG                                     0   ethe

172.24.3.9             172.24.3.1                255.255.255.0       UG                                      0   eth0

172,24.3.1                                       255.255.255.255 UH                     0   0                0   ethd

HOSTS S sudo       cat /etc/hosts
tt Kubernetes-managed hosts file,
127.0,0.1              localhost

::1        localhost ip6-localhost ip6-loopback
fe0O::0 ip6-localnet
fe80;:0 ip6-mcastprefix
fe00::1    ip6-allnodes
fe00::2 ip6-allrouters
172.24.3.9            wf-core-wrk-prod-68c5ddd46f-lxftv
MYIPV S dig +short aryip.opendns.com @resolver1.opendns.com
34,79.134.108

DI60T $ dig a google.com
; <0> DiG 9,16.50-Debian «» a google.com
;; global options: tcmd
;; Got answer:
;; -»HEADER«- opcode: QUERY, status: NOERRCR,                         id: 3576
      flags; qr rd ra; QUERY: 1, ANSWER: 6, AUTHORITY; 0,                          ADDITIONAL;        1

;; OPT PSEUDOSECTION:
; EONS: version: 0.           flags:; udp: 512
;; QUESTION SECTION:
;google.com.                                     IN        A

;; ANSWER SECTION:
g0Dgle.com.                          30          IN        A         74.125.133.100

google.com.                          30          IN        A         74.125.133.113

google.com.                          30          IN        A         74.125.133.138

google.com.                          30          IN        A         74.125.133.102

google.cora.                         30          IN        A         74.125.133.139

google.com.                          30          IN        A         74.125.133.101

;; Query    time:    2 msec
      SERVER: 172.28.0.10353(172.28.0.18)
;; WHEN: Fri Hay 30 10:32:38 UTC 2025
;; MSG SIZE        rcvd;     135
PINGV S ping -c 5 google.com
PING google.COB (74.125.133.100) 56(84) bytes of data.
64 bytes from wo-in-fl00.1elO0,net (74.125.133.100): icmp_seq=1                                  ttl=114 time=1.27 ms
64 bytes from wo-in-fl0O.1e1O0.net (74.125.133.100): icrap_seq=2 ttl=114 time=0.335 ms
64 bytes    from wo-in-fl00.1el00,net (74.125.133.109): icinp_seq=3 ttl=114 time=0.313                                     ms
64 bytes from wo-in-fl00.le100.net (74.125.133,100): icmp_seq=4 ttl=114 tiroe=0.292 ms
64 bytes from wo-in-f1O0.lelOO.net (74.125,133.100): icn:p_seq=5 ttl=n4 time=O.405 ns
— google.com ping statistics —
5 packets transmitted, 5 received, 0% packet loss,                          time   4038ms

rtt min/avg/max/mdev = 0.292/0.522/1.267/8.374 ms
               OS DETAILS          3333#3S3Sfl

UNAHE S sudo uname           -a

Linux wf-core-wrk-prod-68c5ddd46f-lxftv 6.6.72+ #1                         SHP PREEMPT.DYNAMIC Sun Mar 30 09:02:56 UTC 2825 x86_64 GNU/Linux
LSBRE $ sudo       Isb.release -a
No LSB modules are available.




Mod. PO 13 A 01 EN Vi                                                                       Classification; Internal use * 05/30/2025                             8/11
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Distributor ID:        Oebian

Description:           Debian GNU/Linux 11 (bulUeye)
Release:               11

Codename:              bullseye
########## PROCESS DETAILS
PSAUX $ sudo ps -aux
                PID %CPU VCH                VSZ         RSS   TTY            STAT START           TIHE COMHAW)
USER

root               1        0.0            2480     1408 ?                   Ss        May29      0:M /bin/sh -c Xvfb :99 -screen 0 1280x800x16 & node dist/src/index.js
root               8              0.2 747668 47492 ?                         SI        May29      0:00 Xvfb       :99 -screen 0 1280x800x16

root               9        0.1   2.6 68052896 429136 ?                      SI        Hay29      1:12 node dist/src/index.js

root             476              0.0      74496    4088 ?                   Ss        May29      0:03 ntpd
root            2056        2.3      0.8 352116 132756 ?                     SI        10:32      e:B8 tshark -i eth0 -« /tiiip/tiiip-9-bjIAtHZP4E*I/acqul5ltion.p cap -f not port 3389
root            2076        0.1      0.0   17372    8704 ?                   S         10:32      0:<l» /usr/bln/dumpcap -n -i ethB -f not port 3389 -Z none -■ /ti»p/tiiip-9-b3lAtHZP4E*I/acquis
root            2077                        3896    3072      ?              S         10:32      0:0« /bin/bash /app/dist/start.sh
root            2428                        8252    4736      ?              S         10:32      0:00 sudo ps -aux

root            2429        0.0      0.0    6992    3200 ?                   R         10:32      0:00 ps -aux
            TIME DETAILS ##########
OATEV $ date

Fri May 30 10:32:42 UTC 2025
NTPQl $ sudo ntpq -c rv
assocld=0 status=0615 leap.none, sync.ntp,                            1 event, clock.sync,
version="ntpd 4.2.8pl581.3728-o Kcd Sep 23 11:46:38 UTC 2020 (1)",
processor=“x86.64’, syste«=“Linux/6.6.72+", leap=00, stratum=3,
precision=-23, rootdelay=6.554, rootdisp=6.481, refid=46.87.78.3 5,
rcfti»e=ebe4071c.847a8bf7                Fri, May 30 2025 10:29:48.517,
clock=ebe407cb.07efe782                Fri, May 30 2025 10:32:43.027, peer=33340. tc=6,
«intc=3. offset=-0.916641, frequency=+0.000, sys_jitter=0.106250                                     ,




clk_jitter=0.080, clk_waf>der=0.000, tai=37, leapsec=20170101000 0,
expire=202512280090
NTPQ2 $ sudo ntpq -pn
       renote                     refid            St t when poll reach                  delay       offset       jitter


  0.debian.pool.n .POOL.                           16 p                 64                           +0.000

                                                   16 p                 64                           +0.000        0.000
  1.debian.pool.n           .POOL.
                                                   16 p                 64                           +0.000
  2.debian.pool.n .POO..
  3.debian.pool.n           .POOL.                 16 p                 64

 -162.159.200.123           10.219.8.4              3   u      77      128       377     5.378           -0.381    0.077

 +162.159.200.1             10.25.8.4               3 u           5     64       377     4.842           -0.872    0.364

 -84.199.86.248             195.130.132.21          2 u        43      128       377     5.671       +0.306        0.488

 -195.13.1.153              10.0.0.5                2   u     131      128       377    10.679       +0.905        0.258

 +45.87.77.15               109.68.160.223          2   u      60       64       377     6.109           -0.992    0.070

 *45.87.78.35               244.220.219.218         2   u      45       64       377      5.913          -0.882




                                                                             7. Log file of the packet sniffer

The log file of tshark packet sniffer - an open-source library designed to analyse the Internet protocols and their generated traffic - shows the number
                                                                                                                                                                                                 of


packets that have been acquired and the ones that have been discarded due to network issues. This information can be verified by accessing and analysing the
PCAP file available inside the ZIP file that contains the digital evidence.

 Running as user "root" and group "root". This could be dangerous.
 Capturing on 'eth8'
 2351 packets captured




                                                                                                            8. Kopjra

Kopjra Sri is a cyber intelligence company specialized in online investigations, OSINT (Open Source Intelligence) and network forensics, ISO/IEC 27001:2013
and ISO/IEC 27037:2017 certified.


The company assists high-profile Italian and international clients in online intellectual and industrial property protection activities, also serving as CTP
(Technical Consultant of the Party) in multiple proceedings against big tech, social networks and technology platforms,

(funding partners Tommaso Grotto and Eng. Emanuele Casadio are editors and authors of numerous publications, in particular the volume The digital
evidence ('La prova digitale', Giuffri Francis Lefebvre. 2020). They are also adjunct professors at the University of Genoa at STELMILIT (School of
Telecommunicationsof the Italian Armed Forces), the University of Milan and the University of Padua. Eng. EmanueleCasadio,in 2020,joinedthe Selected
Reserve pool of the Italian Carabinieri Force.

Web Forensics and Web ForensicsInstant technologysolutions are covered by trade secret and the latter also by the patent Process and system for automatic
forensic acquisition of web page content granted in Italy in 2024 and in the United States in 2025.


  Mod.P013A01ENvl                                                                                 Classiftcation; Internal use - 05/30/2025                                               9/11
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Bologna,

                                                                                                                     On behalf of Kopjra Sri




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